 Case 22-12537       Doc 163   Filed 08/30/23 Entered 08/31/23 06:44:53                 Desc Main
                                Document       Page 1 of 1
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                            )                          BK No.:     22-12537
ILLINOIS VALLEY CELLULAR RSA 2-I, )
LLC, et al.,                      )                          Chapter: 11
                                  )
                                                             Honorable Timothy Barnes
                                  )
                                  )
             Debtor(s)            )

             ORDER GRANTING MOTION FOR FINAL DECREE PURSUANT TO
                    SECTION 350(a) AND BANKRUPTCY RULE 3022

        This matter coming upon the motion (the "Motion") of Illinois Valley Cellular RSA 2-I, LLC
(“RSA 2-I”) and Illinois Valley Cellular RSA 2-II, LLC (“RSA 2-II” and together with RSA 2-I, the
“Debtors”), for entry of an order of final decree closing these chapter 11 cases pursuant to 11 U.S.C. §
350(a) and Bankruptcy Rule 3022, notice having been properly given and the Court having jurisdiction
over this court proceeding and being fully advised in the premise and there being no objections,

   IT IS HEREBY ORDERED THAT:

       1. A final decree is entered for the above-captioned chapter 11 cases and the cases are hereby
closed.




                                                          Enter:


                                                                   Timothy A. Barnes
Dated: August 30, 2023                                             United States Bankruptcy Judge

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